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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

KARLA BRINTLEY,

             Plaintiff,                         Case No. 2:17-cv-13912

v.                                              Hon. Arthur J. Tarnow

AEROQUIP CREDIT UNION,

             Defendant.

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     DEFENDANT AEROQUIP CREDIT UNION’S REPLY BRIEF
IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT




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A. Plaintiff Cannot Establish Standing.
       i.     Plaintiff Has Not Pled an “Intangible Injury” and Provides No Authority
              That the ADA Redresses Any Such Injuries.
       Plaintiff’s Response alleges that she suffered an “intangible injury”, which she

argues establishes standing (Dkt. 10, PgID 172-74). Plaintiff’s argument fails for two

reasons. First, although Congress may enumerate intangible harms that are redressible

under federal statutes, see Spokeo, Inc. v Robins, 136 S. Ct. 1540, 1549 (2016), Plaintiff

failed to identify any authority that such harms are redressible under the ADA or one

case that supports this position (Dkt. 10, PgID 172-74). Second, Plaintiff’s Complaint

alleges no such harm. Contrary to her Response (Id., PgID 173), paragraphs 14-15 of

her Complaint relate solely to the alleged accessibility barriers of Aeroquip’s website

and have nothing to do with any alleged “intangible injury” (See Dkt. 1, PgID 12-13). 1

       ii.    Plaintiff Cannot Show She Suffered An Injury-in-Fact.
       Plaintiff does not allege that Aeroquip denied her any actual services provided by

Aeroquip, such as the ability to deposit money or obtain a loan. 2 Instead, Plaintiff

argues the “injury” she suffered was the inability to access Aeroquip’s website (Dkt. 10,

PgID 177-81). This argument also fails. Initially, Plaintiff cites no authority to support

the contention that the inability to access a website alone is sufficient to allege a



1
  Even if Plaintiff could get past either flaw, a blind plaintiff’s failure to access a credit union’s
website does not satisfy the injury-in-fact requirement simply by alleging an intangible injury. See
Griffin v. Department of Labor Federal Credit Union, (E.D. Va., Feb. 21, 2018) (Ex. 7, pp. 4-5).
2
  Indeed, Plaintiff attempts to side-step this fact by alleging Aeroquip somehow attempted “to move
the proverbial goal posts” of the injury requirement (Dkt. 10, PgID 180). Not only is this untrue, but
Plaintiff’s misleading “authority” relates to an appellate court prohibiting parties from raising new
arguments on appeal, which has nothing to do with the issues at hand (See, id).
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concrete and particularized injury for purposes of standing. 3 Moreover, Plaintiff’s

inability to access Aeroquip’s website is irrelevant as she was neither an Aeroquip

member nor even eligible to be a member. 4 Therefore, she cannot assert she was injured

by failing to access Aeroquip’s website. 5

       In two recent cases – which are identical to this case – federal district courts

addressed this exact issue: whether a blind plaintiff who was not eligible to be a member

of a credit union suffered an injury under the ADA based on the inability to access a

credit union’s website. See Carrol v. Northwest Federal Credit Union, No. 17-cv-01205

(E.D. Va., Jan. 26, 2018) (Dkt. 6-4, PgID 71-75); Griffin, supra (Ex. 7). In both cases,

the district courts granted the credit union’s motion to dismiss for lack of standing, in

part, finding that the plaintiffs did not suffer any injury as they were not within the

credit union’s membership field (Carrol, PgID 73-74; Griffin, pp. 3-4).




3
   Plaintiff’s argument that “a personal encounter with an accessibility barrier pleads a past injury that
is ‘concrete, particularized, and actual’” (Dkt. 10, PgID 177 n 3) is inapplicable as Plaintiff’s passing
argument cites distinguishable cases related to physical accessibility barriers of wheelchair-bound
individuals, not websites (See, id.). Indeed, Plaintiff asserts later in her brief that such cases are
distinguishable (Id., PgID 181) (arguing cases related to “architectural barriers . . . simply have no
application in the context of an inaccessible website.”).
4
  Contrary to Plaintiff’s assertion (Dkt. 10, PgID 174-76), Aeroquip is not arguing that the ADA
imposes a “membership” criteria. Instead, Aeroquip’s membership criteria – which Plaintiff does not
meet – relates to Plaintiff’s inability to satisfy the injury-in-fact and redressability elements of standing
(Dkt. 6, PgID 42-47).
5
  Although it appears for the first time in her Response that Plaintiff is asserting she is a “tester” (Dkt.
10, PgID 182-85), this is of no consequence because a tester must still satisfy the requirements of
Article III standing. See Judy v. Pingue, No. 08-cv-859, 2009 WL 4261389, at *4 (S.D. Ohio Nov. 25,
2009) (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 374-75 1982)) (Ex. 8).
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         In response, Plaintiff wrongly asserts that Haynes v. Interbond Corp. of America,

2017 WL 4863085 (S.D. Fla. Oct. 16, 2017) is “directly on point” (Dkt. 10, PgID 185-

86). There, the entity was BrandsMart U.S.A., and its website brandsmartusa.com. Id.,

at *1. Unlike Aeroquip and the credit unions in Griffin and Carrol, BrandsMart U.S.A.

is: (1) a consumer retail store; (2) open to the public-at-large; and (3) maintains a

website that states that its products are available both in store and via its website.6 These

facts clearly distinguish Haynes as Aeroquip (like other credit unions)7 has a restricted

membership field and Plaintiff is not eligible for its services (just like the plaintiffs in

Griffin and Carrol). Thus, Haynes is distinguishable.8

         Therefore, because Plaintiff was not a member or eligible to be a member of

Aeroquip Credit Union, she has not been injured and lacks standing. 9



6
    See https://www.brandsmartusa.com/about-brandsmartusa (last accessed March 5, 2018).
7
   Michigan credit unions are required to establish a specific “field of membership”, which may include
persons with a “common bond” of “employment”. M.C.L. § 490.352(2)(b). Aeroquip’s membership
field is limited in this way (Dkt. 6, PgID 44-47). Plaintiff’s assertion that Aeroquip’s website “is a
service, privilege, and advantage of its branch locations” and is available to the public-at-large
“irrespective of credit union membership” (Dkt. 10, PgID 178) is not only false, but she has cited no
authority and there is nothing in the record to support her position.
8
  For the same reasons, and contrary to Plaintiff’s assertions (Dkt. 10, PgID 181), Castillo v. Jo-Ann
Stores, LLC, 2018 WL 838771 (N.D. Ohio Feb. 13, 2018), is also distinguishable. See, id., at *1
(“Defendant Jo-Ann Stores, LLC . . . is a specialty retailer of crafts and fabrics . . . Consumers may
purchase products from Jo-Ann at its brick-and-mortar stores or online through Jo-Ann’s website[.]”).
9
  The Sixth Circuit applies this same rationale – that there is no injury where one is not a member – in
holding that an employee is not injured and has no standing to sue under the Employee Retirement
Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq, if they were not a participant or
beneficiary under a qualifying benefit plan. See, e.g., Ward v. Alternative Health Delivery Sys., Inc.,
261 F.3d 624, 626 (6th Cir. 2001); Roberts v. Hamer, 655 F.3d 578, 581 n. 2 (6th Cir. 2011).
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        iii.   Plaintiff Waived Her Response and, Therefore, Cannot Establish The
               Required Elements of a Future Injury and Redressability.
        Aeroquip also argues that Plaintiff cannot show a threat of future injury and

redressability, which are required in order to establish standing (see Dkt. 6, PgID 43-

47). Plaintiff fails to address these required elements but for a few conclusory and

unsupported assertions (Dkt. 10, PgID 180). Such arguments are insufficient. Plaintiff

has waived any opposition to the contrary. See BioLumix, Inc. v. Centrus Int’l, Inc.,

2013 WL 4483437, at *2 (E.D. Mich. Aug. 20, 2013) (“[I]ssues adverted to in a

perfunctory manner, unaccompanied by some effort at developed argumentation, are

deemed waived.”) (Tarnow, J.) (Ex. 9).

B. Plaintiff’s Claims under the ADA Fail as a Matter of Law.
        i.     The ADA Applies Only to Physical Places and Parker v Metropolitan Life
               Ins. Co. is Binding Precedent.
        In order to try and distinguish the Sixth Circuit’s en banc opinion in Parker v.

Metro. Life Ins. Co., 121 F.3d 1006 (6th Cir. 1997), which holds the ADA only applies

to “physical places” and does not cover websites,10 Plaintiff presents two arguments: (1)

Parker does not apply because it did not address websites; and (2) Parker is outdated

(Dkt. 10, PgID 189-91). Both arguments lack merit.




10
   Plaintiff ignores Aeroquip’s argument (which is a key basis of the Parker opinion) that the ADA’s
statutory text is unambiguous and covers only physical places (Dkt. 6, PgID 47-49). Although Plaintiff
attempts to argue that Aeroquip somehow “ignores the plan language of the ADA’s general
nondiscrimination statute” (Dkt. 10, PgID 188-89), she fails to explain what she means or how that
relates to the issues at hand. Thus, like many other incomplete assertions Plaintiff provides in her
response, this “argument” is waived. See BioLumix, at *2.
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        Plaintiff’s first argument misses the forest for the trees. The Parker Court held,

without limitation, that “a public accommodation is a physical place” Id., at 1010. This

is not only supported by federal regulations regarding what is a “place” under the ADA,

see, id., at 1011, but the language of the ADA itself. Id. Tellingly, Plaintiff ignores all

of these points. Nevertheless, Plaintiff attempts to narrow Parker by cherry-picking the

language from footnote 3 of the court’s opinion (Dkt. 10, PgID 190-91). However,

what Plaintiff omits is the Parker Court saying, again, in that same footnote that “Title

III covers only physical places.” Parker, at 1011 n. 3 (emphasis added). 11 Thus,

Plaintiff’s attempt to distinguish Parker’s applicability is insubstantial.

        Additionally, the age of the Parker opinion is irrelevant. Until the Sixth Circuit

sitting en banc or the Supreme Court overrules Parker, it is still the precedent in this

circuit. See Kerman v. C.I.R., 713 F.3d 849, 866 (6th Cir. 2013). Indeed, the Sixth

Circuit has affirmed the holding in Parker since it was decided. See Kolling v. Blue

Cross & Blue Shield of Michigan, 318 F.3d 715, 716 (6th Cir. 2003) (“A public

accommodation is limited to a physical place . . . .”).

        Further, the applicable text of the ADA that Parker relied upon has not changed

since 1997. Compare 42 U.S.C. § 12181(7) with Parker, 121 F.3d at 1010. Neither has

the pronouncement from the Supreme Court and the Sixth Circuit that where a statute’s

text is unambiguous – as it is here – the statute must be applied as written. See, e.g.,


11
   For the same reasons, the Castillo Court erred by unnecessarily narrowing Parker’s holding and
ignoring the preface to footnote 3. See, id., at *4-5.
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Kingdomware Technologies, Inc. v. U.S., 136 S. Ct. 1969, 1976 (2017) (affirming for

purposes of statutory construction that where “the statutory language is unambiguous

and ‘the statutory scheme is coherent and consistent’ . . . ‘the inquiry ceases.”) (brackets

omitted); Davenport v. Lockwood, Andres & Newnam, Inc., 854 F.3d 905, 909 (6th Cir.

2017) (same). Thus, Parker is still binding and Plaintiff’s claim fails as a matter of law.

         ii.    Plaintiff Waived Any Argument Opposing the Lack of a Nexus Between
                Aeroquip’s Website and its Branch Locations.
         But for a single, unsupported denial, Plaintiff fails to address the lack of a nexus

between Aeroquip’s website and its branch locations (Dkt. 10, PgID 192). Therefore,

Plaintiff has waived any opposition to the contrary. See BioLumix, at *2.

         iii.   Plaintiff’s Request for Injunctive Relief Violates Due Process.
         Plaintiff attempts to argue that her request for injunctive relief does not violate

due process by citing a litany of sources that do not identify a single standard for

website compliance under the ADA (Dkt. 10, PgID 192-94). Indeed, Plaintiff merely

reinforces Aeroquip’s position: there are no regulations or guidelines for a covered

entity’s obligations related to website accessibility. As such, Aeroquip has no notice of

what the ADA may require and that violates due process. See Fortyune v. Lomita, 766

F.3d 1098, 1105 (9th Cir. 2014).12




12
   Plaintiff also attempts to marginalize Robles v. Dominos Pizza, LLC, 2017 WL 1330216 (C.D. Cal.
Mar. 20, 2017) by asserting its opinion as to due process is dicta and not widely accepted (Dkt. 10,
PgID 194). She cites no authority that a dismissal without prejudices renders a court’s opinion dicta,
and all the cases she cites are either factually different or do not reference the Roble Court’s due
process analysis (See id., PgID 194 n. 17).
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       iv.    Plaintiff’s Improper Request to Amend her Complaint is Futile.
       Leave to amend is futile when “a proposed amendment would not survive a

motion to dismiss.” SFS Check, LLC v. First Bank of Delaware, 774 F.3d 351, 355 (6th

Cir. 2014). Further, “a bare request in an opposition to a motion to dismiss—without

any indication of the particular grounds on which amendment is sought” is not a proper

request for leave to amend. Beydoun v. Sessions, 871 F.3d 459, 469 (6th Cir. 2017).

       As set forth in its Motion, and for the reasons provided above, Plaintiff lacks

standing and her claims cannot succeed as a matter of law. This result will not change

even if Plaintiff amends her Complaint. Therefore, Plaintiff’s bare-bones and improper

request to amend (Dkt. 10, PgID 195) should be denied.

                                       CONCLUSION
       WHEREFORE, for the reason stated in its Motion to Dismiss and those provided

above, Defendant Aeroquip Credit Union respectfully requests that this Honorable

Court dismiss Plaintiff’s Complaint in its entirety with prejudice.

                                 Respectfully submitted,

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                           CERTIFICATE OF SERVICE

             The undersigned says that on March 13, 2018, she has caused
             to be served a copy of Defendant Aeroquip Credit Union’s
             Reply Brief in Support of its Motion to Dismiss Plaintiff’s
             Complaint and this Certificate of Service via the Court’s
             Electronic Court Filing system upon all attorneys of record.

             I declare that the above statements are true and correct to the
             best of my knowledge, information and belief.

                                      /s/ Kiersten Plane




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